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UNITED STATES DISTRICT COURT FOR THE
WESTERN DISTRICT OF WASHINGTON

AT SEATTLE
UNITED STATES OF AMERICA, CR20-092 JCC-11
Plaintiff, ORDER ISSUING BENCH WARRANT
v. SUPERSEDING INDICTMENT
ALYSHA JONES,
Defendant.

 

 

A Superseding Indictment having been returned against the above-named defendant,
now therefore

IT IS ORDERED that a Bench Warrant shall be issued and conditions of release shall
be fixed at time of initial appearance in this case.

DATED this 6th day of August, 2020.

UNITED ox Ierrn JUDGE

 

 

SECRET: YES NO X
ORDER ISSUING BENCH WARRANT - 1 UNITED STATES ATTORNEY
SUPERSEDING INDICTMENT 700 Stewart Street, Suite 5220

Seattle, Washington 98101
(206) 553-7970
